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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW MEXICO

ADRIANA CARDENAS, mother
and next of friend to minor child,
A. CHAVEZ CAMPOS,

                 Plaintiffs,
v.                                                                                     1:20-cv-00374-RB-GJF

WALMART SUPERCENTER
STORE, INC.,

                 Defendant.

                    ORDER ADOPTING MAGISTRATE JUDGE’S
               PROPOSED FINDINGS AND RECOMMENDED DISPOSITION

        THIS MATTER is before the Court on Magistrate Judge Gregory J. Fouratt’s Sealed

Proposed Findings and Recommended Disposition (PFRD) Recommending Approval of

Settlement Agreement filed on November 2, 2021. (Doc. 66.) The PFRD notified the parties of

their ability to file objections within 14 days. (Id. at 6.) The parties, however, were also notified

that “if they did not object to [the Court’s] PFRD, they could file a notice of no objections,” which

would “allow the presiding judge to address the Court’s PFRD sooner.” (Doc. 65 at 4.) On

November 3, 2021, the parties filed a Joint Notice of No Objection to the PFRD. (Doc. 67.) This

notice affirms that the parties “agree with the recommendations of Judge Fouratt, and will not be

filing any objections [to the PFRD] as permitted under 28 U.S.C. § 636(b)(1)(c).” (Id. at 1.)

        The Court has reviewed the PFRD and the relevant materials. Noting that the minor child

in this matter will turn 18 years old in 2022 and will begin receiving annuity payments on her 18th

birthday, and that the parties have no objections to the annuity-structured payment plan, the Court

finds that the parties’ joint motion is well-taken and concurs with the PFRD. 1


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 To “assist the annuity company in processing this annuity,” (Doc. 66 at 6) the parties had initially requested, via
email on November 1, 2021, that the instant order contain particular language directing Defendant to disburse the


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        IT IS THEREFORE ORDERED that (1) the Magistrate Judge’s PFRD (Doc. 66) is

ADOPTED and (2) the parties’ Joint Motion to Approve Settlement (Doc. 60) is GRANTED in

that their Full and Final Confidential Settlement, Release of All Claims and Indemnity Agreement

(Doc. 66 at 7–12) is APPROVED. Consequently, IT IS ORDERED AND APPROVED that

Defendant will disburse the settlement funds as specifically outlined in section 1 of the signed Full

and Final Confidential Settlement, Release of All Claims and Indemnity Agreement, dated

November 1, 2021 (Doc. 66 at 1–2);

        IT IS FURTHER ORDERED that the parties must submit a joint motion to dismiss and

proposed order granting the motion to the Court no later than November 17, 2021.




                                                    ________________________________
                                                    ROBERT C. BRACK
                                                    SENIOR U.S. DISTRICT JUDGE




settlement funds in accordance with the parties’ settlement agreement. The parties have since made a minor update
to their requested language, see (Doc. 67 at 1–2), which is reflected in this order.


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